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                             UNITED STATES DISTRICT COURT OF
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 19-CV-61358-SMITH/VALLE

  SEBASTIAN CRISTIAN
  TISSONE,

         Plaintiff,

  v.

  OSCO FOOD SERVICES, LLC
  a Florida Limited Company
  d/b/a JR.B, et al.,

        Defendants.
  ________________________________/

                REPORT AND RECOMMENDATION TO DISTRICT JUDGE

         THIS MATTER is before the Court upon Plaintiff’s Amended Motion for Default Final

  Judgment (ECF No. 44) and Plaintiff’s Amended Verified Motion for Attorneys’ Fees and to Tax

  Costs (ECF No. 45) (together, the “Motions). United States District Judge Rodney Smith referred

  the Motions to the undersigned for a Report and Recommendation. (ECF No. 50). Upon review

  of the Motions, supporting declarations, and the record in this matter, the undersigned recommends

  that the Motions be GRANTED. More specifically, Plaintiff should be awarded: (i) $20,512.76

  in damages against Defendants; (ii) $2,575 in reasonable attorney’s fees; and (iii) $600 in costs;

  for a final judgment against Defendants and in favor of Plaintiff totaling $23,687.76.

                                      I.     BACKGROUND

         On May 30, 2019, Plaintiff Sebastian Cristian Tissone filed a five-count Complaint under

  the Fair Labor Standards Act, as amended 29 U.S.C. § 201, et seq., (the “FLSA”) against Osco

  Food Services, LLC and Marcos Bertorello (together, “Defendants”). See generally (ECF No. 1).

  Plaintiff alleges that he was employed with Defendants from approximately April 4, 2018 to May
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  13, 2019. (ECF No. 1 ¶ 8). According to the Complaint, Plaintiff and Defendants had an

  agreement whereby Plaintiff would be employed by Defendants and would be paid $50,000 a year.

  (ECF No. 1 ¶¶ 9-10). Plaintiff further alleges that he was not paid for the hours worked and

  Defendants failed to pay him the amount due under the agreement between the parties. (ECF

  No. 1 ¶ 14). Based on these general allegations, Plaintiff’s Complaint alleges: (i) breach of

  agreement (Count I); quantum meruit (Count II); unjust enrichment (Count III); and violation of

  FLSA/minimum wage (Count IV), all against the corporate Defendant Osco Food Services, LLC;

  and (ii) a wage and hour federal statutory violation against Defendant Bertorello (Count V). See

  generally (ECF No. 1). In Counts IV and V, Plaintiff specifically seeks damages for unpaid

  minimum wages, liquidated damages, and reasonable attorney’s fees and costs (ECF No. 1 at 5-

  8).

         The corporate Defendant was served on October 25, 2019 through the person in charge at

  1948 Hollywood Boulevard, Hollywood, FL 33020. (ECF No. 28). The individual Defendant

  was served on November 20, 2019 at the same address. (ECF No. 34). Defendants failed to answer

  or otherwise respond to the Complaint and a Clerk’s Default was entered on March 16, 2020. (ECF

  No. 36). The instant Motions followed seeking a default judgment on Counts IV (FLSA claim

  against the corporate Defendant) and Count V (FLSA claim against the individual Defendant).

  Defendants have again failed to respond. Accordingly, the discussion herein is limited to Counts

  IV and V as the remaining counts are not at issue in the Motions.

                                   II.    LEGAL STANDARD

         Under Federal Rule of Civil Procedure 55(b)(2), this Court may enter a final judgment of

  default against a defendant who has failed to plead in response to a Complaint. A defaulting

  defendant admits the well-pleaded allegations in the Complaint. See Eagle Hosp. Physicians, LLC


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  v. SRG Consulting, Inc. 561 F.3d 1298, 1307 (11th Cir. 2009) (citation omitted); Buchanan v.

  Bowman, 820 F.2d 359, 361(11th Cir. 1987) (citation omitted); DelValle v. All-State Prod., Inc.,

  No. 10-20357-CIV, 2010 WL 11597179, at *1 (S.D. Fla. May 28, 2010) (granting default

  judgment in FLSA action based on well-plead complaint); Cancienne v. Drain Master of S. Fla.,

  Inc., No. 08-61123-CIV, 2008 WL 5111264, at *1 (S.D. Fla. Dec. 3, 2008) (citation omitted).

  Thus, by virtue of the default, Defendants have admitted all of the allegations in the Complaint.

  SRG Consulting, 561 F.3d at 1307 (citing Nishimatsu Const. Co. v. Houston Nat’l Bank, 515 F.2d

  1200, 1206 (5th Cir. 1975) 1 and Bowman, 820 F.2d at 361). “A default judgment is unassailable

  on the merits” if it is supported by “well pleaded allegations.” Nishimatsu, 515 F.2d at 1206.

         In addition to the pleadings, a court may also rely on evidence such as affidavits and

  declarations to determine the appropriate damages resulting from a defendant’s default. See

  Chanel, Inc. v. Sea Hero, 234 F. Supp. 3d 1255, 1263 (S.D. Fla. 2016). Lastly, before entering a

  default judgment, the Court must ensure that it has jurisdiction over the claims and there must be

  a sufficient basis in the pleadings for the judgment entered. See Nishimatsu, 515 F.2d at 1206.

                                       III.    DISCUSSION

         A. Jurisdiction and Venue

         This Court has jurisdiction over this matter pursuant to the FLSA, which forms the basis

  of Plaintiff’s claims in Counts IV and V. See (ECF No. 1 at 5-8). 2 Plaintiff also sufficiently




  1
   Pursuant to Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir.1981), all Fifth
  Circuit cases decided prior to September 30, 1981 are binding precedent.
  2
    Plaintiff also alleges that the Court has supplemental jurisdiction over the state law claims
  pursuant to 28 U.S.C. § 1367. (ECF 1 ¶ 5). As noted above, however, the instant Motions focus
  only on Counts IV and V. Therefore, the state law claims are not at issue in this Report and
  Recommendation.
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  alleges venue in that he claims to reside in Broward County and to having been an employee for

  purposes of the FLSA. (ECF 1 ¶ 2).

            B. Plaintiffs’ Complaint Adequately Alleges Claims for which Relief may be Granted

                   1. FLSA/Minimum Wage Against Corporate Defendant (Count IV)

            Under the FLSA, Plaintiff is entitled to be paid 1 1/2 times his regular rate of pay for all

  hours in excess of forty worked in a work week. See 29 U.S.C. § 207(a)(1). Plaintiff has the

  burden of proving the amount of damages to be awarded. Bautista Hernandez v. Tadala’s Nursery,

  Inc., 34 F. Supp. 3d 1229, 1241 (S.D. Fla. 2014). When the employer has violated his duty to keep

  adequate records, an employee may satisfy this burden by producing “sufficient evidence to prove

  that he ‘performed work for which he was improperly compensated’ and ‘sufficient evidence to

  show the amount and extent of that work as a matter of just and reasonable inference.’” DelValle,

  2010 WL 11597179, at *1 (citation omitted). If the employer does not come forward with evidence

  of the precise amount of work performed or other evidence to negate the plaintiff's prima facie

  case, the “court may award approximate damages based on the employee’s evidence.” Id.

            Here, Plaintiff alleges that the corporate Defendant willfully violated the FLSA by failing

  to compensate Plaintiff at the federal minimum wage. Plaintiff also alleges that the corporate

  Defendant has gross annual revenue of more than $500,000 and is an enterprise engaged in

  commerce. (ECF No. 1 ¶¶ 36-37). In support of the instant Motions, Plaintiff declares that he was

  not paid for the first two months of his employment with Defendants (from approximately April

  4, 2018 to June 4, 2018) 3 and is owed $8,333.32 in unliquidated damages for this period ($4,166.66

  per month for 2 months). (ECF No. 44-1 ¶ 7). Plaintiff further declares that he was not paid for

  the last two weeks of employment (from approximately April 30, 2019 to May 13, 2019) and is


  3
      The reference to June 2019 appears to be a typographical error.
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  owed $1,923.06 in unliquidated damages for this period. (ECF No. 44-1 ¶ 8). In total, Plaintiff

  claims $10,256.38 in unliquidated damages and the same amount in liquidated damages, for

  $20,512.76 in total damages. (ECF No. 44-1 ¶¶ 9-11).

         Based on review of the Complaint and the record in this case, Plaintiff has sufficiently

  stated a claim for an FLSA violation. Accordingly, the undersigned recommends that Plaintiff’s

  Motion be GRANTED as to Defendant Osco Food Services, LLC on Count IV.

         2. Wage and Hour Federal Statutory Violation Against Individual Defendant
            (Count V)

         In Count V against the individual Defendant, Plaintiff incorporates the factual allegations

  noted above, see Section I, supra, and further alleges that: (i) the individual Defendant was an

  employer with the meaning of the FLSA, had operational control of the business, had authority

  and/or power over the terms of Plaintiff’s employment, and is jointly liable for Plaintiff’s damages.

  (ECF No. 1 ¶¶ 42-44).      Plaintiff further alleges that the individual Defendant willfully and

  intentionally refused to properly pay Plaintiff wages as required by law. Id. ¶ 45. As noted above,

  Plaintiff has filed a declaration in support of the instant Motions in which he details the amount of

  alleged damages. (ECF No. 44-1).

           Accordingly, based on a review of the record, Plaintiff has sufficiently stated a claim

  against Defendant Marcos Bertorello for an FLSA violation. Thus, the undersigned recommends

  that Plaintiff’s Motion be GRANTED as to Defendant Marcos Bertorello on Count V.

         3. Damages Against Defendants

         Damages may be awarded where the record adequately reflects the basis for the award

  through detailed affidavits establishing the necessary facts. See Adolph Coors Co. v. Movement

  Against Racism and the Klan, 777 F.2d 1538, 1544 (11th Cir. 1985). In assessing damages on the

  papers (without a hearing), it is appropriate for the Court to use “mathematical calculations.” Id.
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  at 1543. Nonetheless, district courts have “wide discretion in assessing damages, which may be

  rewarded even where they are not susceptible to precise calculations.” Nutrivida, Inc. v. Inmuno

  Vital, Inc., 46 F. Supp. 2d 1310, 1315 (S.D. Fla. 1998) (citing Ramada Inns, Inc. v. Gadsden Motel

  Co., 804 F.2d 1562, 1564-65 (11th Cir. 1986)). Here, Plaintiff declares that he was not paid for

  the first two months of his employment with Defendants (from approximately April 4, 2018 to

  June 4, 2018) and is owed $8,333.32 in unliquidated damages ($4,166.66 per month for 2 months).

  (ECF No. 44-1 ¶ 7). Plaintiff further declares that he was not paid for the last two weeks of his

  employment (from approximately April 30, 2019 to May 13, 2019) and is owed $1,923.06 in

  unliquidated damages. (ECF No. 44-1 ¶ 8). In sum, Plaintiff alleges $10,256.38 in unliquidated

  damages and the same amount in liquidated damages, totaling $20,512.76 in damages.

  (ECF No. 44-1 ¶¶ 9-11).

         Based on a review of the record and the supporting declaration (ECF No. 44-1), the

  undersigned recommends that Plaintiff be awarded $20,512.76 in total damages on Counts IV

  and V against Defendants, jointly and severally.

     C. Plaintiff’s Amended Verified Motion for Attorneys’ Fees and Costs

         As the prevailing party by default judgment, Plaintiff is entitled to an award of attorneys’

  fees and costs under the FLSA. See 29 U.S.C. § 216(b) (“in addition to any judgment awarded to

  [plaintiff, the Court shall] allow a reasonable attorney’s fee to be paid by the defendant, and costs

  of the action.”). Here, Plaintiff requests an award of $2,980 in attorneys’ fees and $600 in costs.

  (ECF No. 45 at 7).

         1. Reasonable Attorney’s Fees

         In assessing the reasonableness of a request for attorney’s fees in the Eleventh Circuit,

  courts use the “lodestar” method to calculate an objective estimate of the value of an attorney’s


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  services. Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988); see also

  Padurjan v. Aventura Limousine & Transp. Serv., Inc., 441 F. App’x 684, 686 (11th Cir. 2011)

  (affirming the use of the lodestar method when evaluating an FLSA settlement and plaintiff’s

  request for attorney’s fees). Under the lodestar method, the value of an attorney’s services is

  calculated by multiplying the hours that the attorney reasonably worked by a reasonable rate of

  pay. Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994) (citing Norman, 836 F.2d at 1299).

  The “‘fee applicant bears the burden of establishing entitlement and documenting the appropriate

  hours and hourly rates.’” ACLU v. Barnes, 168 F.3d 423, 427 (11th Cir. 1999) (quoting Norman,

  836 F.2d at 1303)).

         Importantly, courts are not authorized “to be generous with the money of others, and it is

  as much the duty of courts to see that excessive fees and expenses are not awarded as it is to see

  that an adequate amount is awarded.” Id. at 428; see also Padurjan, 441 F. App’x at 686 (affirming

  the District Court’s use of “independent judgment” when assessing counsel’s reasonable rate).

  Finally, courts need not become “green-eyeshade accountants.” Fox v. Vice, 563 U.S. 826, 838

  (2011). Instead, the essential goal for the court is to “do rough justice, not to achieve auditing

  perfection.” Id.

         Here, Plaintiff seeks attorney’s fees for 4.5 hours expended by attorney Anthony M.

  Georges-Pierre (at $400/hr) and 4 hours expended by attorney Max L. Horowitz (at $300/hr).

  (ECF No. 45 at 3-4). According to the Florida Bar, attorney Georges-Pierre has been practicing

  law    for   approximately     20    years.         See https://www.floridabar.org/directories/find-

  mbr/profile/?num=533637 (last visited Feb. 10, 2021). Attorney Georges-Pierre is the founding

  partner of the firm Remer & Georges-Pierre, PLLC, and has extensive litigation experience. (ECF

  No. 45 at 4-5). Attorney Horowitz is a senior associate at the same firm and has been practicing


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  law for approximately six years. (ECF No. 45 at 5). Attorney Horowitz has handled approximately

  138 cases in federal court and many more in state court. (ECF No. 45 at 5).

         In support of Plaintiff’s counsel’s request for attorney’s fees, Plaintiff filed a Notice of

  Previously Awarded Fees and Costs listing cases in which counsel have received the same hourly

  rates as requested in the instant case. (ECF No. 46). Notably, a review of many of those cases

  reveals that they involved court approval of an FLSA settlement where attorneys’ fees and costs

  were amicably resolved. Thus, the cases are distinguishable from the instant default judgment and

  unpersuasive in seeking the higher hourly rates. See, e.g., Snyder v. A1 Prop. Pres., Inc., No. 8:12-

  CIV-2014-T-17, 2013 WL 3155058, at *2 (M.D. Fla. June 19, 2013) (noting that “uncontested

  awards are not convincing evidence of reasonable market rates”) (citations and quotations

  omitted). Indeed, those cases did not require the Court to conduct a lodestar analysis to determine

  counsel’s hourly rates. The undersigned also notes that courts in this District usually reserve

  awarding the higher hourly rates sought by Plaintiff for attorneys with many more years of

  experience. See, e.g., Alexandre v. Millenia Housing Mngm’t Ltd., No. 9:19-CV-80612-RKA

  (S.D. Fla. Mar. 4, 2020) (ECF No. 62) (recommending award of $400/hr to attorney with 39 years

  of experience); Garcia v. Pajeoly Corp., No. 18-23399-CIV, 2020 WL 764127, at *4 (S.D. Fla.

  Jan. 10, 2020), report and recommendation adopted, No. 18-CV-23399-CIV, 2020 WL 764035

  (S.D. Fla. Jan. 31, 2020) (awarding hourly rates of $375 and $325 to attorneys with approximately

  25 and 10 years of experience, respectively); see also Caruso v. Titan List & Mailing Servs., Inc.,

  No. 17-62160-CIV, 2018 WL 5620279, at *1 (S.D. Fla. Oct. 30, 2018) (granting $395/hr to

  attorney with 19 years of experience); Salinas v. Ramsey, No. 03-22046-CIV, 2018 WL 6807341,

  at *2 (S.D. Fla. Sept. 26, 2018), report and recommendation adopted, No. 03-22046-CIV, 2018

  WL 6807313 (S.D. Fla. Oct. 31, 2018) (recommending $375/hr for attorney with approximately


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  20 years of experience). Moreover, although the attorneys representing Plaintiff have substantial

  legal experience, the skills needed in this case fall within the usual realm of a labor law practice

  and do not warrant a higher hourly rate. Lastly, the Court is “deemed an expert on the issue of

  hourly rates in this community and may properly consider ‘its own knowledge and experience

  concerning reasonable and proper fees and may form an independent judgment either with or

  without the aid of witnesses as to value.’” Fiedler v. Anglin’s Beach Café, LLC, No. 15-60989,

  2017 U.S. Dist. LEXIS 189449, 2017 WL 1278632, at *1 (S.D. Fla. April 3, 2017) (quoting

  Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994)).

         Accordingly, based on their experience, qualifications, and the prevailing market rates in

  South Florida, the undersigned finds that $350 is a reasonable hourly rate for the work performed

  by attorney Georges-Pierre, and $250 is a reasonable hourly rate for associate Horowitz.

         Nevertheless, the undersigned finds that the number of hours expended are reasonable and

  should be fully awarded.      See (ECF No. 45-1 at 1) (containing counsel’s billing records).

  Therefore, based on a reduced hourly rate multiplied by the hours expended, Plaintiff should be

  awarded $2,575 in reasonable attorneys’ fees. This amount is based on: (i) $350 x 4.5 hours for

  attorney Georges-Pierre (i.e., $1,575); and (ii) $250 x 4 hours for attorney Horowitz (i.e., $1,000).

             2. Costs under the FLSA

         As noted above, as the prevailing party by default judgment, Plaintiff is entitled to an award

  of costs under the FLSA. See 29 U.S.C. § 216(b) (“in addition to any judgment awarded to

  [plaintiff, the Court shall] allow a reasonable attorney's fee to be paid by the defendant, and costs

  of the action.”). Here, Plaintiff seeks $600 for the following costs: filing fees ($400), research

  ($50), postage ($50), and service of process ($100). (ECF Nos. 45 at 6, 45-1 at 1, 45-2, 45-3).




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  Based on the record before the Court, the undersigned finds that Plaintiff should recover the full

  $600 in costs.

                                   IV.     RECOMMENDATION

         For the reasons set forth above, the undersigned respectfully recommends that:

         (i)       Plaintiff’s Amended Motion for Default Final Judgment (ECF No. 44) be

  GRANTED. Plaintiff should be awarded damages against Defendants Osco Food Services, LLC

  and Marcos Bertorello, jointly and severally, in the amount of $20,512.76; and

         (ii)      Plaintiff’s Amended Verified Motion for Attorneys’ Fees and to Tax Costs

  Pursuant to Local Rule 7.3 (ECF No. 45) be GRANTED IN PART. Plaintiff should be awarded

  $2,575 in reasonable attorney’s fees, and $600 in costs;

         (iii)     In sum, the Court should enter final judgment against Defendants and in favor of

  Plaintiff totaling $23,687.76.

         Within fourteen (14) days after being served with a copy of this Report and

  Recommendation, any party may serve and file written objections to any of the above findings and

  recommendations as provided by the Local Rules for this district. 28 U.S.C. § 636(b)(1); S.D. Fla.

  Mag. R. 4(b). The parties are hereby notified that a failure to timely object waives the right to

  challenge on appeal the District Court’s order based on unobjected-to factual and legal conclusions

  contained in this Report and Recommendation. 11th Cir. R. 3-1 (2020); see Thomas v. Arn, 474

  U.S. 140 (1985).

         DONE AND ORDERED in Chambers in Fort Lauderdale, Florida on February 10, 2021.


                                                __________________________________________
                                                ALICIA O. VALLE
                                                UNITED STATES MAGISTRATE JUDGE
  cc: U.S. District Judge Rodney Smith
      All Counsel of Record
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